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                       United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-1133                                                   September Term, 2023
                                                                         FERC-ER18-99-005
                                                                         FERC-ER18-99-007
                                                      Filed On: February 16, 2024 [2041111]
Paragould Light & Water Commission,
d/b/a Paragould Light, Water & Cable -
PLWC, et al.,

                   Petitioners

         v.

Federal Energy Regulatory Commission,

                   Respondent

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City Utilities of Springfield, Missouri and
Southwest Power Pool, Inc.,
                 Intervenors

                                              ORDER

       It is ORDERED, on the court's own motion, that this case be scheduled for oral
argument on April 5, 2024, at 9:30 A.M. The composition of the argument panel will
usually be revealed thirty days prior to the date of oral argument on the court's web site at
www.cadc.uscourts.gov.

         The time and date of oral argument will not change absent further order of the
Court.

         A separate order will be issued regarding the allocation of time for argument.

                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                     BY:    /s/
                                                            Michael C. McGrail
                                                            Deputy Clerk

The following forms and notices are available on the Court's website:

         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
